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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )
                                                )               Case No. 8:14CR155
                      Plaintiff,                )
                                                )
       vs.                                      )
                                                )                     ORDER
JUAN GERARDO DELGADO,                           )
                                                )
                      Defendant.                )


       This case is before the court on the defendant Juan Gerardo Delgado's Motion for

Limited Pretrial Release on Terms and Conditions (#34). The defendant moves the court

for release to electronic monitoring and 24-hour house arrest at his home at 1510 Winona

Lane, Council Bluffs, Iowa 51501. The motion is denied without hearing.

       The defendant is currently charged in a three-count indictment with:

       Count I: Conspiracy to distribute methamphetamine (actual), with a maximum
       penalty of ten years to life imprisonment, a $10,000,000 fine, five years of
       supervised release, and a $100 special assessment;

       Count II: Distribution of methamphetamine (actual), with a maximum penalty
       of ten years to life imprisonment, a $10,000,000 fine, five years of supervised
       release, and a $100 special assessment;

       Count III: Conspiracy to commit money laundering, with a maximum penalty
       of twenty years imprisonment, up to a $500,000 fine or twice value of
       “property”, three years of supervised release, and a $100 special
       assessment.

       A review of the defendant's May 28, 2014, Pretrial Services report (#8) reveals a

felony receiving stolen property conviction in 1998, a flight to avoid arrest conviction in 1999,

a failure to appear conviction 2003, and a pending charge of driving while under the influence

in Sarpy County which, according to Pretrial Services has now gone to “violation status.”
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       The defendant's proposed plan of release fails to address the court's concerns as

set out in the May 28, 2014, Detention Order Pending Trial (#12), and also fails to rebut the

presumption of detention under 18 U.S.C. § 3142(e).

       I find the defendant to be both a flight risk and a danger and that no single condition

of release nor any combination of conditions will mitigate my concerns as to flight and

danger.

       IT IS ORDERED: Defendant's Motion for Limited Pretrial Release on Terms and

Conditions (#34) is denied without hearing.

       Dated this 10th day of July 2014.

                                           BY THE COURT:


                                           s/ F.A. Gossett, III
                                           United States Magistrate Judge




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